U.S. Case
     Department  of Justice
                                                                                           PROC-Es~s~REcEIPT AND RETURN· ·-
          3:18-cv-07802-BRM-TJB Document 19 see
                                             Filed   04/05/19
                                                Instructions        Pageof1Process
                                                             for "Service   of 6 PageID:
                                                                                   by the U.S. 162
                                                                                               Marshal"
United States Marshals Service              on the reverse ofthis form.

PLAINTIFF

       n~ ~e..\ \ *,~12.
                                                                                        · APR O5 2019                        TYPE OF.PROCESS

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                                                                                                                     CRIPTION OF PROPERTY TO SEIZE OR CONDEMN




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SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW:
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SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDiTING SERVI(::E (Include Business and Alternate Address.es All
Telephone Numbers, and Estimated Times Available For Service):                                                            i
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Signature of Attorney or other Originator requesting service on.behalfof:                   ~AINTIFF                TELEPHONE NUMBER·                         DATE

                                                                                            0 · DEFENDANT

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-.. DONOT WRITE BELOW TIDS LINE
I acknowledge receipt for the total         · Total Process District        District       Signature of Authorized USMS Deputy or Clerk                               Date

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than one USM 285 is submitted)                              No._·_
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I hereby certify and return that I Q' have personally served, D have legal evidence of service, D have executed as shown in "Remarks", the process described
on the individual, company, corporation, etc., a~ the address shown above or on the individual, company, corporation, etc., shown at the address inserted below.

D      I hereby certify iµid reh}m that I aIIJ. unable to locate the individual, company, corporation, etc.,named above.(See remarks below) ·

                                                                                                                                . , .· · A perso·n of suitable age and dis- ·
                                                                                                                                   D · cretion then residing in the,defendant's
                                                                                                                                         usual place of abode.
                                                                                                                                   Date of Service          Time                  am

                                                                                                                                                                                  pm

                                                                                                                                   Signature of U.S. Marshal or Deputy




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                        Total Mileage Charges         Forwarding Fee    Total Charges    Advance Deposits      Amount owed to U.S. Marshal or                 Amount ofRefu;n.d



REMARKS:
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PRIOR EDITIONS                                                                                                                                      FORM USM-285 (Rev. 12/15/80)
                                                            l. · CLERK OF THE COURT                                                                      (instructions Rev. 12/08)
MAYBE USED·
---·· ·(   Case 3:18-cv-07802-BRM-TJB Document 19 Filed 04/05/19 Page 2 of 6 PageID: 163

                                 UNITED STATES DISTRICT COURT
                                               DISTRICT OF NEW JERSEY


                DONELL FREEMAN,
                Plaintiff

                                          V.                    SUMMONS ON AMENDED
                                                                COMPLAINT
               KEVIN MCDONNELL, MD, ET AL.,
               Defendant
                                                                CASE
                                                                NUMBER: 3:18-CV-07802-BRM-TJB


                  TO: (Name and address of Defendant):




                   A lawsuit has been filed against you.

                    Unless otherwise prescribed by rule, within 21 days after service of this summons on you
                (not counting the day you received it) -- or 60 days if you are the United States or a United
                States Agency, or an office or employee of the United States described in Fed. R. civ. P. 12
                (a)(2) or (3) -- you must serve on the plaintiff an answer to the attached amended complaint or a
                motion under rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
                served on the plaintiff or plaintiffs attorney, whose name and address are:




                   If you fail to respond, judgment by default will be entered against you for the relief
                demanded in the amended complaint. You also must file yout answer or motion with the court.




                 s/WILLIAMT. WALSH
                CLERK




                                                                            ISSUED ON 2019-04-01 15:49:03, Clerk
                                                                                       USDCNJD
Case 3:18-cv-07802-BRM-TJB Document 19 Filed 04/05/19 Page 3 of 6 PageID: 164


                                                    RETURN OF SERVICE
  Service of the Summons and complaint was made by DATE
  me{l)
  NAME OF SERVER (PRINT)                           TITLE


   Check one box below to indicate aooroJJriate method ofservice        ..




         D Served personally upon the defendant. Place where served:


         o Left copies thereofat the defendant's dwelling house or usual place of abode with a person of suitable age
             and
             discretion then residing therein.

         DName of person with whom the summons and complaint were left:

         D Returned unexecuted:



          D Other (specify):




                                                 STATEMENT OF SERVICE FEES
   TRAVEL                              'SERVICES                                       'TOTAL

                                                   DECLARATION OF SERVER

               I declare under penalty of perjury under the laws of the United States of America that the foregoing
            information
            contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on
                                         Date                   Signature ofServer


                                                                Address of Server
                                       ..    PROCESS RE'c?i1PT AND RETURN~. -· • ·.
U.S. Case
     Department  of Justice ·
          3:18-cv-07802-BRM-TJB Document
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United States Marshals Service               on thf rere.eeef this form.    .                        lV
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PLAINTIFF                                                                                                                              COURT CASE Nl}MBER
           ·~e ~Q..\\ -- ,e.e.'t'"\C\~                                                                                                t\lo~ \ i-lS'D:i. c_B'<                   .)
DEFENDANT                                                                                                                              TYPE OF PROCESS

         \-\~s                                                                                                          M                               s+c__
SERVE{                      NAME OF INDNIDUAL, COMPANY, CORPORATIO ,                                   C    .          R DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
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       •                    ADDRESS (Street or RFD, Apartment No., City, State ·and ZIP Code)

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SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SER.VICE (Include Business and Alternate Addresses AU
Telephone Numbers, and Estimated Times Available For Service):                                      - -. - ·  -      ·
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Signature of Attorney or other Origillator requesting service on behalf of:                                                   TELEPHONE NUMBER                           DATE
                                                                                                           PLAINTIFF
                                                                                                      · 0 DEFENDANT

SPACE BEL.OW FOR USE. OF'U.S. MARSHAL.ONLY-. DO NOT WRITE BELOW TIDS LINE
I acknowledge receipt for tlie total         Total Process District                   District        Signature of Authorized USMS Deputy or Clerk                                  ·Date
number of process indicated.
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on the individual, company, corporation, etc., .at the address shown above or on the individual, company, corporation, etc., shown at the ~ddress inserted below.
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D      I hereby certify and return that I am unable to locate the. indi_vidual, company, corporation, etc., named above (See remarks below)

Name and title of individual served (if not :Shown above)                                                                                        - A person of suitable age and dis-
                                                                                                                                             0    cretion th~n resid4ig in the defendant's
           ·fee>                        -     lJ ~ t n..e_                                                                                        usual place of abode.
Address (complete only if:differentthan show_n above)                                                                                        Date of Service        Time



                                                                                                                                             Signature ~~ ¥~rshal or Deputy
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REMARKS:




PRIOR EDITIONS                                                                                                                                              FORM USM-285 (Rev. 12/15/80)
                                                                      1. CLERK OF THE COURT                                                                      (Instructions Rev. 12/08)
MAYBE USED
Case 3:18-cv-07802-BRM-TJB Document 19 Filed 04/05/19 Page 5 of 6 PageID: 166

                       UNITED ST ATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


    DONELL FREEMAN,
    Plaintiff


                                V.                   SUMMONS ON AMENDED
                                                     COMPLAINT
    KEVIN MCDONNELL, MD, ET AL.,
    Defendant
                                                     CASE
                                                     NUMBER: 3:18-CV-07802--BRM-TJB


        TO: (Name and address of Defendant):




        A lawsuit has been filed against you.

         Unless otherwise prescribed by rule, within 21 days after service of this summons on you
     (not counting the day you received it) -- or 60 days if you are the United States or a United
     States Agency, or an office or employee of the United States described in Fed. R. civ. P. 12
     (a)(2) or (3) -- you must serve on the plaintiff an answer to the attached amended complaint or a
     motion under rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
     served on the plaintiff or plaintiffs attorney, whose name and address are:




        If you fail to respond, judgment by default will be entered against you for the relief
     demanded in the amended complaint. You also must file your answer or motion with the court.




      s/WILLIAMT. WALSH
     CLERK




                                                                 ISSUED ON 2019-04-0115:49:03, Clerk
                                                                            USDCNJD
..Case 3:18-cv-07802-BRM-TJB
  •                                                 Document 19 Filed 04/05/19 Page 6 of 6 PageID: 167


                                                        RETURN OF SERVICE
      Service of the Summons and complaint was made by DATE
      me(J)
      NAME OF SERVER (PRINT)                           TITLE

      Check one box below to indicate appropriate method ofservice




             D Served personally upon the defendant. Place where served:


             D Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age
               and                                                                                                   ·
               discretion then residing therein.

             D Name of person with whom the summons and complaint were left:

             D Returned unexecuted:



              D Other (specify) :




                                                    STATEMENT OF SERVICE FEES
      TRAVEL                               ISERVICES                                      !TOTAL

                                                      DECLARATION OF SERVER

                  I declare under penalty of perjury under the laws of the United States of America that the foregoing
               information
               contained in the Return of Service and Statement of Service Fees is true and correct.


               Executed on
                                             Date                  Signature ofServer


                                                                   Address ofServer
